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PROB 12A
(6/21)

                               United States District Court
                                           for
                                 District of New Jersey
                         Report on Individual Under Supervision
her
Name of Individual Under Supervision: DUTTON, Shahouna                                  Cr.: 18-00295-001
                                                                                       PACTS #: 4618373

Name of Sentencing Judicial Officer:    THE HONORABLE CLAIRE C. CECCHI
                                        UNITED STATES DISTRICT JUDGE

Date of Original Sentence: 10/02/2019

Original Offense:   Possession of a Firearm by a Convicted Felon

Original Sentence: 46 months of imprisonment; 3 years of supervised release; $100 Special Assessment

Special Conditions: 1) drug and alcohol testing/treatment; 2) refrain from any crime/threat group
association; 3) mental health treatment; 4) participate/complete any programming; and 4) no unlawful
operation of a motor vehicle

Type of Supervision: Supervised Release                         Date Supervision Commenced: 08/18/2021

                                 NONCOMPLIANCE SUMMARY

The individual under supervision has not complied with the following condition of supervision:

Violation Number     Nature of Noncompliance

  1                    On October 25, 2021, Dutton submitted a urinalysis specimen which tested
                       positive for THC/marijuana.

U.S. Probation Officer Action: Probation will present this document to Dutton. The noncompliance detailed
herein may be included in a violation report if the Probation Office deems fit and noncompliance continues.

                                                         Respectfully submitted,

                                                         SUSAN M. SMALLEY, Chief
                                                         U.S. Probation Officer




                                                          By:    JOSEPH EMPIRIO
                                                                 Senior U.S. Probation Officer

/ jae
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                                                                                       Prob 12A – page 2
                                                                                      DUTTON, Shahouna

APPROVED:



                                          11/02/2021
DONALD L. MARTENZ, JR.                       Date
Supervising U.S. Probation Officer

Please check a box below to indicate the Court’s direction regarding action to be taken in this case:

    The Probation Office will present this document to the offender as a written reprimand issued under the
X
    authority of the United States District Court (PROBATION RECOMMENDED)
    Submit a Request for Modifying the Conditions or Term of Supervision
    Submit a Request for Warrant or Summons
    Other



                                                                 Signature of Judicial Officer




                                                                 11/2/2021
                                                                             Date
